                                                                              Case:14-17484-KHT Doc#:1 Filed:05/29/14                                              Entered:05/29/14 17:37:35 Page1 of 56
                                                                     B1 (Official Form 1) (04/13)
                                                                                                           United States Bankruptcy Court
                                                                                                                 District of Colorado                                                                                 Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Harding, Suzan Rene
                                                                      All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                             (include married, maiden, and trade names):
                                                                      See Schedule Attached


                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                      (if more than one, state all):     6410                                                 (if more than one, state all):

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      1690 S Garfield St
                                                                      Denver, CO
                                                                                                                            ZIPCODE 80210-3006                                                                               ZIPCODE
                                                                      County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                      Denver
                                                                      Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                                         ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                             ZIPCODE
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                                                                                         Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                                                        Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
                                                                        See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                                       Chapter 11                   Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                                                        Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                   Other                                                                      (Check one box.)
                                                                                      Chapter 15 Debtor                                                                                     Debts are primarily consumer       Debts are primarily
                                                                      Country of debtor’s center of main interests:                           Tax-Exempt Entity                            debts, defined in 11 U.S.C.         business debts.
                                                                      __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                      Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                      regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                      __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                          Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                        Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                         Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors

                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                        5,000          10,000           25,000              50,000              100,000           100,000
                                                                     Estimated Assets

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                              Case:14-17484-KHT Doc#:1 Filed:05/29/14                                    Entered:05/29/14 17:37:35 Page2 of 56
                                                                     B1 (Official Form 1) (04/13)                                                                                                                           Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Harding, Suzan Rene

                                                                                           All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:District Of Colorado                                               09-27757-HRT                              8/27/2009
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:N/A
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
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                                                                                                                                                     X   /s/ Dennis H. Babiniec                                         5/29/14
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                          No

                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                              Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                    (Check any applicable box.)
                                                                              Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                            (Name of landlord that obtained judgment)

                                                                                                                                        (Address of landlord)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                              Case:14-17484-KHT Doc#:1 Filed:05/29/14                                            Entered:05/29/14 17:37:35 Page3 of 56
                                                                     B1 (Official Form 1) (04/13)                                                                                                                                                   Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Harding, Suzan Rene

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ Rene Harding                                                                       Signature of Foreign Representative
                                                                          Signature of Debtor                                        Rene Harding
                                                                      X                                                                                          Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor

                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          May 29, 2014
                                                                          Date

                                                                                                      Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Dennis H. Babiniec                                                            preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Dennis H. Babiniec 11926                                                          110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                                                          Dennis H. Babiniec, P.C.                                                          pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          10701 Melody Dr., Ste 350                                                         chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Northglenn, CO 80234                                                              notice of the maximum amount before preparing any document for filing
                                                                                                                                                            for a debtor or accepting any fee from the debtor, as required in that
                                                                          attorneydennisb@gmail.com                                                         section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          May 29, 2014
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this              X
                                                                      petition is true and correct, and that I have been authorized to file this                 Signature
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                      United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                                                                                            Names and Social-Security numbers of all other individuals who prepared or
                                                                      X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                          Signature of Authorized Individual                                                not an individual:

                                                                                                                                                            If more than one person prepared this document, attach additional sheets
                                                                          Printed Name of Authorized Individual
                                                                                                                                                            conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                          Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                            imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                             Case:14-17484-KHT Doc#:1 Filed:05/29/14                       Entered:05/29/14 17:37:35 Page4 of 56
                                                                     IN RE Harding, Suzan Rene                                                            Case No.
                                                                                                                  Debtor(s)

                                                                                                                        VOLUNTARY PETITION
                                                                                                                       Continuation Sheet - Page 1 of 1

                                                                     All Other Names used by the Debtor in the last 8 years:
                                                                      ods Cocktails For A Cause
                                                                      mem Rene Harding, LLC
                                                                      Rene Harding
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                                                                              Case:14-17484-KHT Doc#:1 Filed:05/29/14                            Entered:05/29/14 17:37:35 Page5 of 56
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                       United States Bankruptcy Court
                                                                                                                             District of Colorado

                                                                     IN RE:                                                                                           Case No.
                                                                     Harding, Suzan Rene                                                                              Chapter 13
                                                                                                                Debtor(s)

                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                            CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.
                                                                        1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Rene Harding
                                                                     Date: May 29, 2014
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                                                                               Case:14-17484-KHT
                                                                     B7 (Official Form 7) (04/13)                 Doc#:1 Filed:05/29/14                   Entered:05/29/14 17:37:35 Page7 of 56
                                                                                                                              United States Bankruptcy Court
                                                                                                                                    District of Colorado

                                                                     IN RE:                                                                                                       Case No.
                                                                     Harding, Suzan Rene                                                                                          Chapter 13
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                     affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 39,522.18 2014 gross income from business
                                                                               160,528.63 2013 gross income from business
                                                                                 73,888.00 2012 gross income from business

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)

                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                             debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                                                                                                                 AMOUNT                AMOUNT
                                                                     NAME AND ADDRESS OF CREDITOR                                     DATES OF PAYMENTS                                             PAID           STILL OWING
                                                                                Case:14-17484-KHT Doc#:1 Filed:05/29/14                                   Entered:05/29/14 17:37:35 Page8 of 56
                                                                     Bellco Credit Union                                              4/30/14                                                     1,285.28               3,887.56
                                                                     PO Box 2062
                                                                     Glen Burnie, MD 21060-2062
                                                                     Calibur Home Loans, Inc.                                         2/14-4/14 $2,414.03/mo.                                     7,242.09            390,000.00
                                                                     PO Box 650856
                                                                     Dallas, TX 75265-0856
                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                             preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                             who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                             the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                             the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                             gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     NAME AND ADDRESS OF PERSON                                       RELATIONSHIP TO                                           DESCRIPTION AND
                                                                     OR ORGANIZATION                                                  DEBTOR, IF ANY                     DATE OF GIFT           VALUE OF GIFT
                                                                     Kaye Phifer                                                      mother                             8/13                   $1,000. for trip to Europe

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                               Case:14-17484-KHT Doc#:1 Filed:05/29/14                                     Entered:05/29/14 17:37:35 Page9 of 56
                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Dennis H. Babiniec, P.C.                                          2/10/14-5/14                                                         2,250.00
                                                                     10701 Melody Dr., Ste 350
                                                                     Northglenn, CO 80234
                                                                     Credit Keeper                                                                                                                                             39.96
                                                                     Credit Concepts                                                                                                                                         690.00

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                             absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                             device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                             transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)
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                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                             case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.


                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                             that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                             Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.
                                                                              Case:14-17484-KHT Doc#:1 Filed:05/29/14                                    Entered:05/29/14 17:37:35 Page10 of 56
                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                             potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                             the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                             is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                          If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                          of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                          preceding the commencement of this case.
                                                                                                                 LAST FOUR DIGITS
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                                                                                                                 OF SOCIAL-
                                                                                                                 SECURITY OR OTHER
                                                                                                                 INDIVIDUAL
                                                                                                                 TAXPAYER-I.D. NO.                                                   NATURE OF            BEGINNING AND
                                                                     NAME                                        (ITIN)/COMPLETE EIN ADDRESS                                         BUSINESS             ENDING DATES
                                                                     Rene Harding LLC                            -6410                      1690 S Garfield St                       realtor- limited 1/29/2008 -
                                                                                                                                            Denver, CO 80210-3006                    liability            present
                                                                                                                                                                                     company- 100%
                                                                                                                                                                                     member
                                                                     Cocktails For A Cause                       6410                                                                   President- 501        2009-present
                                                                                                                                                                                        (c)(3) nonprofit
                                                                                                                                                                                        organization
                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.


                                                                     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
                                                                     six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more than
                                                                     5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed
                                                                     in a trade, profession, or other activity, either full- or part-time.

                                                                     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within the six
                                                                     years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
                                                                     signature page.)

                                                                     19. Books, records and financial statements
                                                                      None   a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
                                                                             keeping of books of account and records of the debtor.
                                                                     NAME AND ADDRESS                                                 DATES SERVICES RENDERED
                                                                     Anna Faulk                                                       2013-2014
                                                                     1008 S Cherry St Apt 301B
                                                                     Glendale, CO 80246-3600
                                                                              Case:14-17484-KHT Doc#:1 Filed:05/29/14                                     Entered:05/29/14 17:37:35 Page11 of 56
                                                                      None   b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
                                                                             and records, or prepared a financial statement of the debtor.

                                                                      None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
                                                                             debtor. If any of the books of account and records are not available, explain.
                                                                     NAME AND ADDRESS
                                                                     Erika Haberkorn, CPA                                              preparation of 2013 tax returns
                                                                     Zarlingo Raub LLP
                                                                     7100 W 44th Ave Ste 101
                                                                     Wheat Ridge, CO 80033-4701
                                                                      None   d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
                                                                             the debtor within the two years immediately preceding the commencement of this case.

                                                                     20. Inventories
                                                                      None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
                                                                             dollar amount and basis of each inventory.

                                                                      None   b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                     21. Current Partners, Officers, Directors and Shareholders
                                                                      None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
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                                                                      None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
                                                                             or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                     22. Former partners, officers, directors and shareholders
                                                                      None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
                                                                             of this case.

                                                                      None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
                                                                             preceding the commencement of this case.

                                                                     23. Withdrawals from a partnership or distributions by a corporation
                                                                      None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
                                                                             bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
                                                                             case.

                                                                     24. Tax Consolidation Group
                                                                      None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
                                                                             purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.

                                                                     25. Pension Funds.
                                                                      None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
                                                                             has been responsible for contributing at any time within six years immediately preceding the commencement of the case.
                                                                             Case:14-17484-KHT Doc#:1 Filed:05/29/14                            Entered:05/29/14 17:37:35 Page12 of 56

                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: May 29, 2014                         Signature /s/ Rene Harding
                                                                                                                of Debtor                                                                         Rene Harding

                                                                     Date:                                      Signature
                                                                                                                of Joint Debtor
                                                                                                                (if any)

                                                                                                                                  0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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                                                                           Case:14-17484-KHT
                                                                     B6 Summary                              Doc#:1
                                                                                (Official Form 6 - Summary) (12/13)                   Filed:05/29/14            Entered:05/29/14 17:37:35 Page13 of 56
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                        District of Colorado

                                                                     IN RE:                                                                                                                Case No.
                                                                     Harding, Suzan Rene                                                                                                   Chapter 13
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED             NO. OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                 LIABILITIES                OTHER


                                                                      A - Real Property                                                Yes                         1 $         352,438.00



                                                                      B - Personal Property                                            Yes                         3 $           12,495.00



                                                                      C - Property Claimed as Exempt                                   Yes                         1
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                                                                      D - Creditors Holding Secured Claims                             Yes                         2                            $       412,934.13


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                       Yes                         2                            $         86,708.94
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                       Yes                         2                            $          3,631.44
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                       Yes                         1
                                                                          Leases


                                                                      H - Codebtors                                                    Yes                         1


                                                                      I - Current Income of Individual
                                                                                                                                       Yes                         2                                                     $         10,590.07
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                       Yes                         5                                                     $           8,738.47
                                                                          Debtor(s)


                                                                                                                                       TOTAL                     20 $          364,933.00 $             503,274.51
                                                                            Case:14-17484-KHT
                                                                     B 6 Summary                              Doc#:1
                                                                                 (Official Form 6 - Summary) (12/13)      Filed:05/29/14    Entered:05/29/14 17:37:35 Page14 of 56
                                                                                                                       United States Bankruptcy Court
                                                                                                                             District of Colorado

                                                                     IN RE:                                                                                       Case No.
                                                                     Harding, Suzan Rene                                                                          Chapter 13
                                                                                                              Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
                                                                     U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                     any information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                        Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $           0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $      86,708.94
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $           0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $           0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $           0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                                                                                             TOTAL      $      86,708.94


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 12)                                                         $      10,590.07

                                                                      Average Expenses (from Schedule J, Line 22)                                                       $       8,738.47

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $       6,543.96


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                         $    48,001.13

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $      80,876.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                           $     5,832.94

                                                                      4. Total from Schedule F                                                                                             $     3,631.44

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $    57,465.51
                                                                             Case:14-17484-KHT
                                                                     B6A (Official Form 6A) (12/07)                  Doc#:1 Filed:05/29/14                       Entered:05/29/14 17:37:35 Page15 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                               Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     Residence at:1690 S Garfield St                                                           Fee Simple                                                    352,438.00               409,046.57
                                                                      Denver, CO 80210-3006
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                                                                     CoreLogic.com market value




                                                                                                                                                                                      TOTAL                                  352,438.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                             Case:14-17484-KHT
                                                                     B6B (Official Form 6B) (12/07)                   Doc#:1 Filed:05/29/14                      Entered:05/29/14 17:37:35 Page16 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                              Case No.
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                               X
                                                                        2. Checking, savings or other financial            1st Bank- checking, business checking, savings                                                                            unknown
                                                                           accounts, certificates of deposit or
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                king bed 75., dresser 50., 2 night stands 20., 2 lamps 20., couch                                                           1,500.00
                                                                           include audio, video, and computer              75., 2 chairs 60., 3 ottomans 30., couch table 40., floor lamp 10.,
                                                                           equipment.                                      table lamp 15., area rug 20., couch 75., 3 chairs 90., ottoman 10.,
                                                                                                                           dresser 50., lamp 15., linens 50., dining room table & chairs
                                                                                                                           250., chair 30., dresser 50., love seat 75., 2 lamps 30., queen bed
                                                                                                                           50., night stand 10., dresser 30., chair 20., patio furniture 200.,
                                                                                                                           BBQ 50.,
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                clothing & shoes                                                                                                            1,500.00
                                                                        7. Furs and jewelry.                               21 rings 420., 18 ear rings 180., 10 bracelets 50., watch 100., 27                                                          1,425.00
                                                                                                                           necklaces 675.
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name            American General Life Insurance Company- #YM00255421                                                                             0.00
                                                                           insurance company of each policy and            $250,000. death benefit
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                                                                           American General Life Insurance Company- #YM00278172                                                                             0.00
                                                                                                                           $250,000. death benefit
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                             Case:14-17484-KHT
                                                                     B6B (Official Form 6B) (12/07) - Cont.          Doc#:1 Filed:05/29/14             Entered:05/29/14 17:37:35 Page17 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                    Case No.
                                                                                                                             Debtor(s)                                                                        (If known)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                      CURRENT VALUE OF
                                                                                                                      N                                                                                              DEBTOR'S INTEREST IN
                                                                                                                      O                                                                                               PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                        DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                                 DEDUCTING ANY
                                                                                                                      E                                                                                               SECURED CLAIM OR
                                                                                                                                                                                                                          EXEMPTION




                                                                      12. Interests in IRA, ERISA, Keogh, or         X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated             100% membership of Rene Harding LLC                                                                       0.00
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint         X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
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                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent                    beneficiary of Suzan Rene Harding Trust assets are two life                                               0.00
                                                                          interests in estate of a decedent, death        insurance policies listed in #9 above
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and              2005 Honda Pilot 155k mi. (nada.com ave. trade-in)                                                   7,500.00
                                                                          other vehicles and accessories.
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                      28. Office equipment, furnishings, and         X
                                                                          supplies.
                                                                             Case:14-17484-KHT
                                                                     B6B (Official Form 6B) (12/07) - Cont.     Doc#:1 Filed:05/29/14              Entered:05/29/14 17:37:35 Page18 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                Case No.
                                                                                                                         Debtor(s)                                                                                  (If known)

                                                                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                                            (Continuation Sheet)




                                                                                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                 N                                                                                                         DEBTOR'S INTEREST IN
                                                                                                                 O                                                                                                          PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                     DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                 N                                                                                                            DEDUCTING ANY
                                                                                                                 E                                                                                                          SECURED CLAIM OR
                                                                                                                                                                                                                                EXEMPTION




                                                                      29. Machinery, fixtures, equipment, and        desk 200., file cabinet 45., lamp 15., chair 20., shelves 30.,                                                    570.00
                                                                          supplies used in business.                 dresser 40., computer 150., printer 70.
                                                                      30. Inventory.                            X
                                                                      31. Animals.                              X
                                                                      32. Crops - growing or harvested. Give    X
                                                                          particulars.
                                                                      33. Farming equipment and implements.     X
                                                                      34. Farm supplies, chemicals, and feed.   X
                                                                      35. Other personal property of any kind   X
                                                                          not already listed. Itemize.
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                                                                                                                                                                                             TOTAL                                 12,495.00
                                                                                                                                                                        (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                        Report total also on Summary of Schedules.)
                                                                             Case:14-17484-KHT
                                                                     B6C (Official Form 6C) (04/13)                 Doc#:1 Filed:05/29/14                    Entered:05/29/14 17:37:35 Page19 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                        Case No.
                                                                                                                               Debtor(s)                                                                         (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                           11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                      EXEMPTIONS

                                                                     SCHEDULE A - REAL PROPERTY
                                                                     Residence at:1690 S Garfield St                              CRS §§38-41-201(a), 201.5                                         60,000.00              352,438.00
                                                                      Denver, CO 80210-3006

                                                                     CoreLogic.com market value
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     1st Bank- checking, business checking,                       CRS §§5-5-105, 13-54-104                                                 75%                unknown
                                                                     savings
                                                                     king bed 75., dresser 50., 2 night stands      CRS §13-54-102(1)(e)                                                              1,500.00                1,500.00
                                                                     20., 2 lamps 20., couch 75., 2 chairs 60., 3
                                                                     ottomans 30., couch table 40., floor lamp
                                                                     10., table lamp 15., area rug 20., couch 75.,
                                                                     3 chairs 90., ottoman 10., dresser 50., lamp
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                                                                     15., linens 50., dining room table & chairs
                                                                     250., chair 30., dresser 50., love seat 75., 2
                                                                     lamps 30., queen bed 50., night stand 10.,
                                                                     dresser 30., chair 20., patio furniture 200.,
                                                                     BBQ 50.,
                                                                     clothing & shoes                                             CRS §13-54-102(1)(a)                                                1,500.00                1,500.00
                                                                     21 rings 420., 18 ear rings 180., 10                         CRS §13-54-102(1)(b)                                                1,425.00                1,425.00
                                                                     bracelets 50., watch 100., 27 necklaces
                                                                     675.
                                                                     2005 Honda Pilot 155k mi. (nada.com ave.                     CRS §13-54-102(1)(j)(I)                                             5,000.00                7,500.00
                                                                     trade-in)
                                                                     desk 200., file cabinet 45., lamp 15., chair                 CRS §13-54-102(1)(i)                                                  570.00                     570.00
                                                                     20., shelves 30., dresser 40., computer
                                                                     150., printer 70.




                                                                     * Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             Case:14-17484-KHT
                                                                     B6D (Official Form 6D) (12/07)                  Doc#:1 Filed:05/29/14                                              Entered:05/29/14 17:37:35 Page20 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                                                  Case No.
                                                                                                                                 Debtor(s)                                                                                                                                      (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
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                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                 AMOUNT OF




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO. 1380                                                                              2007 vehicle loan for 2005 Honda Pilot                                                             3,887.56
                                                                     Bellco Credit Union
                                                                     PO Box 2062
                                                                     Glen Burnie, MD 21060-2062

                                                                                                                                                                   VALUE $ 7,500.00

                                                                     ACCOUNT NO. 1687                                                                              2004 mortgage for residence                                                                    390,000.00                 37,562.00
                                                                     Calibur Home Loans, Inc.
                                                                     PO Box 650856
                                                                     Dallas, TX 75265-0856

                                                                                                                                                                   VALUE $ 352,438.00

                                                                     ACCOUNT NO. 6410                                                                              2006-2011 income taxes. Tax lien filed                                                           19,046.57                10,439.13
                                                                     Internal Revenue Service                                                                      9/30/13.
                                                                     PO Box 7346
                                                                     Philadelphia, PA 19101-7346

                                                                                                                                                                   VALUE $ 364,933.00

                                                                     ACCOUNT NO.                                                                                   Assignee or other notification for:
                                                                     U.S. Attorney                                                                                 Internal Revenue Service
                                                                     1225 17th St Ste 700
                                                                     Denver, CO 80202-5598

                                                                                                                                                                   VALUE $
                                                                                                                                                                                                                        Subtotal
                                                                            1 continuation sheets attached                                                                                                  (Total of this page) $ 412,934.13 $                                              48,001.13
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
                                                                             Case:14-17484-KHT
                                                                     B6D (Official Form 6D) (12/07) - Cont.        Doc#:1 Filed:05/29/14                                              Entered:05/29/14 17:37:35 Page21 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                                                 Case No.
                                                                                                                               Debtor(s)                                                                                                                                      (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                                                                                                                                               AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                 DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                            DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                       UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                  NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                     PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                              PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                              COLLATERAL




                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     U.S. Attorney General                                                                       Internal Revenue Service
                                                                     U.S. Department Of Justice
                                                                     950 Pennsylvania Ave. N.W.
                                                                     Washington, DC 20530-0009
                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.
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                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $
                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                                    Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                         (Total of this page) $                                                    $
                                                                                                                                                                                                                        Total
                                                                                                                                                                                                      (Use only on last page) $ 412,934.13 $                                               48,001.13
                                                                                                                                                                                                                                                            (Report also on         (If applicable, report
                                                                                                                                                                                                                                                            Summary of              also on Statistical
                                                                                                                                                                                                                                                            Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                    Liabilities and Related
                                                                                                                                                                                                                                                                                    Data.)
                                                                             Case:14-17484-KHT
                                                                     B6E (Official Form 6E) (04/13)                   Doc#:1 Filed:05/29/14                         Entered:05/29/14 17:37:35 Page22 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                                 Case No.
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                          Taxes and Certain Other Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                          * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            1 continuation sheets attached
                                                                             Case:14-17484-KHT
                                                                     B6E (Official Form 6E) (04/13) - Cont.         Doc#:1 Filed:05/29/14                                                      Entered:05/29/14 17:37:35 Page23 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                                                                                                 Case No.
                                                                                                                                                    Debtor(s)                                                                                                                         (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                            Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                                               (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                                                                                   AMOUNT




                                                                                                                                                                                                                    CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                                                                                                                                                                                                                                AMOUNT                NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                     AMOUNT
                                                                                                                                                                 DATE CLAIM WAS INCURRED                                                                                        ENTITLED           ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                     OF
                                                                                                                                                               AND CONSIDERATION FOR CLAIM                                                                                         TO                  TO
                                                                                   (See Instructions above.)                                                                                                                                                     CLAIM
                                                                                                                                                                                                                                                                                PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                                    IF ANY




                                                                     ACCOUNT NO. 4741                                                                      2011-2013 income tax
                                                                     Colorado Department Of Revenue
                                                                     1375 Sherman St Rm 504
                                                                     Denver, CO 80261-0004

                                                                                                                                                                                                                                                                 7,876.00        7,876.00
                                                                                                                                                           Assignee or other notification
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                                                                     ACCOUNT NO.
                                                                     Colorado Atty. General                                                                for:
                                                                     1525 Sherman St Ste 700                                                               Colorado Department Of
                                                                     Denver, CO 80203-1700                                                                 Revenue



                                                                     ACCOUNT NO.                                                                           Assignee or other notification
                                                                     Performant Recovery Inc.                                                              for:
                                                                     PO Box 9054                                                                           Colorado Department Of
                                                                     Pleasanton, CA 94566-9054                                                             Revenue



                                                                     ACCOUNT NO. 6410                                                                      2011-2013 income tax
                                                                     Internal Revenue Service
                                                                     PO Box 7346
                                                                     Philadelphia, PA 19101-7346

                                                                                                                                                                                                                                                                78,832.94       73,000.00            5,832.94
                                                                     ACCOUNT NO.                                                                           Assignee or other notification
                                                                     U.S. Attorney                                                                         for:
                                                                     1225 17th St Ste 700                                                                  Internal Revenue Service
                                                                     Denver, CO 80202-5598



                                                                     ACCOUNT NO.                                                                           Assignee or other notification
                                                                     U.S. Attorney General                                                                 for:
                                                                     U.S. Department Of Justice                                                            Internal Revenue Service
                                                                     950 Pennsylvania Ave. N.W.
                                                                     Washington, DC 20530-0009

                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                           Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                    (Totals of this page)                                      $    86,708.94 $     80,876.00 $          5,832.94
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $                                                                             86,708.94
                                                                                                                                                                                 Total
                                                                                                                   (Use only on last page of the completed Schedule E. If applicable,
                                                                                                      report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                      $   80,876.00 $          5,832.94
                                                                             Case:14-17484-KHT
                                                                     B6F (Official Form 6F) (12/07)                   Doc#:1 Filed:05/29/14                                            Entered:05/29/14 17:37:35 Page24 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                                                   Case No.
                                                                                                                                 Debtor(s)                                                                                                             (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                          (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM
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                                                                     ACCOUNT NO. 6109                                                                                     11/13-12/13 medical expense VARIOUS ACCTS.
                                                                     Littleton Adventist Hospital
                                                                     PO Box 561430
                                                                     Denver, CO 80256-1430

                                                                                                                                                                                                                                                                                  2,265.99
                                                                     ACCOUNT NO. 9868                                                                                     5/13 medical expense various accounts
                                                                     National Jewish Health
                                                                     PO Box 17379
                                                                     Denver, CO 80217-0379

                                                                                                                                                                                                                                                                                  1,038.03
                                                                     ACCOUNT NO. 5113                                                                                     12/13 medical expense
                                                                     South Denver Anesthesiologists PC
                                                                     PO Box 17026
                                                                     Denver, CO 80217-0026

                                                                                                                                                                                                                                                                                    208.80
                                                                     ACCOUNT NO. 2877                                                                                     10/13 medical expense
                                                                     Unipath
                                                                     PO Box 742433
                                                                     Atlanta, GA 30374-2104

                                                                                                                                                                                                                                                                                    118.62
                                                                                                                                                                                                                                          Subtotal
                                                                            1 continuation sheets attached                                                                                                                    (Total of this page) $                              3,631.44
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                             Case:14-17484-KHT
                                                                     B6F (Official Form 6F) (12/07) - Cont.        Doc#:1 Filed:05/29/14                                              Entered:05/29/14 17:37:35 Page25 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                                                  Case No.
                                                                                                                              Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     SCA Collections                                                                                    Unipath
                                                                     PO Box 876
                                                                     Greenville, NC 27835-0876



                                                                     ACCOUNT NO.
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                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $                              3,631.44
                                                                            Case:14-17484-KHT
                                                                     B6G (Official Form 6G) (12/07)                   Doc#:1 Filed:05/29/14                        Entered:05/29/14 17:37:35 Page26 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                                 Case No.
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                            Case:14-17484-KHT
                                                                     B6H (Official Form 6H) (12/07)                   Doc#:1 Filed:05/29/14                         Entered:05/29/14 17:37:35 Page27 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                                  Case No.
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                                                                                  Case:14-17484-KHT Doc#:1 Filed:05/29/14                                        Entered:05/29/14 17:37:35 Page28 of 56
                                                                                   Harding, Suzan Rene
                                                                      Fill in this information to identify your case:


                                                                      Debtor 1          Suzan
                                                                                        ___      Rene_______
                                                                                            ____ _____ Harding
                                                                                                             ____ _____ ______ ____ _____ _______ ____ ______ ____ ____
                                                                                          F irst Name                Middle Name                Last Name

                                                                      Debtor 2            ___ ____ _____ _______ ____ _____ ______ ____ _____ _______ ____ _____ _____ __
                                                                      (Spouse, if filing) F irst Name                Middle Name                Last Name


                                                                      United States Bankruptcy Court for the: District of Colorado

                                                                      Case num ber        ___ ____ _____ ______ _____ _____ ______ ____ _____                                      Check if this is:
                                                                          (If known)
                                                                                                                                                                                       An amended filing
                                                                                                                                                                                       A supplement showing post-petition
                                                                                                                                                                                       chapter 13 income as of the following date:
                                                                                                                                                                                       ________________
                                                                     Official Form 6I                                                                                                  MM / DD / YYYY


                                                                     Schedule I: Your Income                                                                                                                                           12/13
                                                                     Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                     supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                     If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                     separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                      Part 1:           Describe Employment
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                                                                     1.    Fill in your employment
                                                                           information.                                                               Debtor 1                                         Debtor 2 or non-filing spouse

                                                                            If you have more than one job,
                                                                            attach a separate page with
                                                                            information about additional          Employment status                    Employed                                           Employed
                                                                            employers.                                                                 Not employed                                       Not employed
                                                                            Include part-time, seasonal, or
                                                                            self-employed work.
                                                                                                                  Occupation                     __________________________________                __________________________________
                                                                            Occupation may Include student
                                                                            or homemaker, if it applies.
                                                                                                                  Employer’s name                __________________________________                __________________________________


                                                                                                                  Employer’s address            __ ____ _______ _____ ____ _____ ______ ____ __   ___ _______ ____ _____ ____ ______ _____ ______
                                                                                                                                                  Number Street                                     Number     Street

                                                                                                                                                __ ____ _____ ___________ _____ ______ ____ __    ___ _______ __ ______ _____ _______ ____ _____ _

                                                                                                                                                ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____


                                                                                                                                                __ ____ _____ ___________ _____ ______ ____ __    _____ _____ ______ _____ ____ _____ ______ ____
                                                                                                                                                  Cit y             State   ZIP Code                City                    State ZIP Code

                                                                                                                  How long employed there?             _______                                      _______

                                                                      Part 2:           Give Details About Monthly Income

                                                                            Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                            spouse unless you are separated.
                                                                            If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                            below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                              For Debtor 1          For Debtor 2 or
                                                                                                                                                                                                    non-filing spouse
                                                                      2.     List monthly gross wages, salary, and commissions (before all payroll
                                                                             deductions). If not paid monthly, calculate what the monthly wage would be.             2.
                                                                                                                                                                                   0.00
                                                                                                                                                                             $___________              $____________

                                                                      3.     Estimate and list monthly overtime pay.                                                 3.     + $___________
                                                                                                                                                                                   0.00            +   $____________


                                                                      4.     Calculate gross income. Add line 2 + line 3.                                            4.           0.00
                                                                                                                                                                             $__________               $____________
                                                                                 Case:14-17484-KHT Doc#:1 Filed:05/29/14                                                                   Entered:05/29/14 17:37:35 Page29 of 56
                                                                     Debtor 1             Suzan
                                                                                         ___      Rene
                                                                                             _______       Harding
                                                                                                     ____ _____ ______ _____ ____ _______ ____ _____ _____                                           Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                         First Name          Middle Name                Last Name



                                                                                                                                                                                                    For Debtor 1            For Debtor 2 or
                                                                                                                                                                                                                            non-filing spouse

                                                                           Copy line 4 here ............................................................................................     4.             0.00
                                                                                                                                                                                                     $___________               $_____________

                                                                     5.    List all payroll deductions:

                                                                            5a. Tax, Medicare, and Social Security deductions                                                                5a.            0.00
                                                                                                                                                                                                    $____________              $_____________
                                                                            5b. Mandatory contributions for retirement plans                                                                 5b.            0.00
                                                                                                                                                                                                    $____________              $_____________
                                                                            5c. Voluntary contributions for retirement plans                                                                 5c.            0.00
                                                                                                                                                                                                    $____________              $_____________
                                                                            5d. Required repayments of retirement fund loans                                                                 5d.            0.00
                                                                                                                                                                                                    $____________              $_____________
                                                                            5e. Insurance                                                                                                    5e.            0.00
                                                                                                                                                                                                    $____________              $_____________
                                                                            5f. Domestic support obligations                                                                                 5f.            0.00
                                                                                                                                                                                                    $____________              $_____________

                                                                            5g. Union dues                                                                                                   5g.            0.00
                                                                                                                                                                                                    $____________              $_____________

                                                                            5h. Other deductions. Specify: __________________________________                                                5h.   + $____________
                                                                                                                                                                                                             0.00          +   $_____________

                                                                      6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                       6.             0.00
                                                                                                                                                                                                    $____________              $_____________

                                                                      7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.            0.00
                                                                                                                                                                                                    $____________              $_____________
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                                                                      8.   List all other income regularly received:
                                                                            8a. Net income from rental property and from operating a business,
                                                                                profession, or farm
                                                                                Attach a statement for each property and business showing gross
                                                                                receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                         10,590.07
                                                                                                                                                                                                    $____________              $_____________
                                                                                monthly net income.                                                                                          8a.
                                                                             8b. Interest and dividends                                                                                      8b.            0.00
                                                                                                                                                                                                    $____________              $_____________
                                                                            8c. Family support payments that you, a non-filing spouse, or a dependent
                                                                                regularly receive
                                                                                Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                                                                                            0.00
                                                                                                                                                                                                    $____________              $_____________
                                                                                settlement, and property settlement.                                  8c.
                                                                            8d. Unemployment compensation                                                                                    8d.           0.00
                                                                                                                                                                                                    $____________              $_____________
                                                                            8e. Social Security                                                                                              8e.            0.00
                                                                                                                                                                                                    $____________              $_____________
                                                                             8f. Other government assistance that you regularly receive
                                                                                 Include cash assistance and the value (if known) of any non-cash assistance
                                                                                 that you receive, such as food stamps (benefits under the Supplemental                                                     0.00
                                                                                                                                                                                                    $____________              $_____________
                                                                                 Nutrition Assistance Program) or housing subsidies.
                                                                                 Specify: ___________________________________________________ 8f.

                                                                             8g. Pension or retirement income                                                                                8g.            0.00
                                                                                                                                                                                                    $____________              $_____________

                                                                             8h. Other monthly income. Specify: _______________________________                                              8h.   + $____________
                                                                                                                                                                                                             0.00            + $_____________
                                                                      9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.         10,590.07
                                                                                                                                                                                                    $____________              $_____________

                                                                     10. Calculate  monthly income. Add line 7 + line 9.
                                                                           Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                        10.
                                                                                                                                                                                                       10,590.07
                                                                                                                                                                                                    $___________       +        $_____________ = $_____________
                                                                                                                                                                                                                                                     10,590.07

                                                                     11.   State all other regular contributions to the expenses that you list in Schedule J.
                                                                           Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
                                                                           other friends or relatives.
                                                                           Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                           Specify: _______________________________________________________________________________                                                                              11. + $_____________
                                                                                                                                                                                                                                                               0.00
                                                                     12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                           Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                          12.       10,590.07
                                                                                                                                                                                                                                                         $_____________
                                                                                                                                                                                                                                                         Combined
                                                                                                                                                                                                                                                         monthly income
                                                                      13. Do     you expect an increase or decrease within the year after you file this form?
                                                                                 No.
                                                                                                None
                                                                                 Yes. Explain:
                                                                                   Case:14-17484-KHT Doc#:1 Filed:05/29/14                                          Entered:05/29/14 17:37:35 Page30 of 56
                                                                                     Harding, Suzan Rene
                                                                          Fill in this information to identify your case:

                                                                          Debtor 1           Suzan
                                                                                            ___       Rene
                                                                                                _______       Harding
                                                                                                        ____ _____ ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                                                                                             First Name                  Middle Name               Last Name                        Check if this is:
                                                                          Debtor 2           ___ ____ _____ _______ ____ _____ ______ _______ ____ _____ ____ _______ ___
                                                                          (Spouse, if filing) First Name                 Middle Name               Last Name
                                                                                                                                                                                        An amended filing
                                                                                                                                                                                        A supplement showing post-petition chapter 13
                                                                          United Sta tes Bankruptcy Court for th e: District of Colorado                                                expenses as of the following date:
                                                                                                                                                                                        ________________
                                                                          Case num ber       ___ ____ _____ ______ _____ _____ ______ _______ __                                        MM / DD / YYYY
                                                                           (If known)
                                                                                                                                                                                        A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                        maintains a separate household
                                                                     Official Form 6J
                                                                     Schedule J: Your Expenses                                                                                                                                      12/13

                                                                     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                     information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                     (if known). Answer every question.

                                                                      Part 1:               Describe Your Household

                                                                     1.    Is this a joint case?

                                                                                No. Go to line 2.
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                                                                                Yes. Does Debtor 2 live in a separate household?

                                                                                             No
                                                                                             Yes. Debtor 2 must file a separate Schedule J.

                                                                     2.    Do you have dependents?                         No                                   Dependent’s relations hip to              De pendent’s   Does d epe ndent live
                                                                           Do not list Debtor 1 and                        Yes. Fill out this information for Debtor 1 or Debtor 2                        age            with you?
                                                                           Debtor 2.                                       each dependent..........................
                                                                                                                                                                                                                             No
                                                                           Do not state the dependents’                                                         _________________________                 ________
                                                                           names.                                                                                                                                            Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                     3.    Do your expenses include
                                                                                                                           No
                                                                           expenses of people other than
                                                                           yourself and your dependents?                   Yes

                                                                     Part 2:            Estimate Your Ongoing Monthly Expenses

                                                                     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                     expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                     applicable date.
                                                                     Include expenses paid for with non-cash government assistance if you know the value of
                                                                     such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                     Your expenses

                                                                      4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                             any rent for the ground or lot.                                                                                        4.
                                                                                                                                                                                                                  2,414.03
                                                                                                                                                                                                            $_____________________

                                                                             If not included in line 4:
                                                                             4a.    Real estate taxes                                                                                               4a.             0.00
                                                                                                                                                                                                            $_____________________
                                                                             4b.    Property, homeowner’s, or renter’s insurance                                                                    4b.             0.00
                                                                                                                                                                                                            $_____________________
                                                                             4c.    Home maintenance, repair, and upkeep expenses                                                                   4c.            100.00
                                                                                                                                                                                                            $_____________________

                                                                             4d.    Homeowner’s association or condominium dues                                                                     4d.             0.00
                                                                                                                                                                                                            $_____________________
                                                                                   Case:14-17484-KHT Doc#:1 Filed:05/29/14                                  Entered:05/29/14 17:37:35 Page31 of 56

                                                                      Debtor 1          Suzan
                                                                                        ___      Rene
                                                                                            _______      Harding
                                                                                                    ____ _____ ______ _____ ____ _______ ____ _____ _____         Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                        First Name     Middle Name         Last Name




                                                                                                                                                                                                  Your expenses

                                                                                                                                                                                                 $_____________________
                                                                                                                                                                                                         0.00
                                                                      5.   Additional mortgage payments for your residence, such as home equity loans                                    5.


                                                                      6.   Utilities:
                                                                           6a.     Electricity, heat, natural gas                                                                        6a.            173.50
                                                                                                                                                                                                 $_____________________
                                                                           6b.     Water, sewer, garbage collection                                                                      6b.            95.00
                                                                                                                                                                                                 $_____________________
                                                                           6c.     Telephone, cell phone, Internet, satellite, and cable services                                        6c.            295.00
                                                                                                                                                                                                 $_____________________

                                                                           6d.     Other. Specify: _______________________________________________                                       6d.             0.00
                                                                                                                                                                                                 $_____________________

                                                                      7.   Food and housekeeping supplies                                                                                7.             250.00
                                                                                                                                                                                                 $_____________________

                                                                      8.   Childcare and children’s education costs                                                                      8.              0.00
                                                                                                                                                                                                 $_____________________
                                                                      9.   Clothing, laundry, and dry cleaning                                                                           9.             150.00
                                                                                                                                                                                                 $_____________________
                                                                     10.   Personal care products and services                                                                           10.            125.00
                                                                                                                                                                                                 $_____________________
                                                                     11.   Medical and dental expenses                                                                                   11.            140.00
                                                                                                                                                                                                 $_____________________

                                                                     12.   Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                        325.00
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                                                                                                                                                                                                 $_____________________
                                                                           Do not include car payments.                                                                                  12.

                                                                     13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.            75.00
                                                                                                                                                                                                 $_____________________
                                                                     14.   Charitable contributions and religious donations                                                              14.             0.00
                                                                                                                                                                                                 $_____________________

                                                                     15.   Insurance.
                                                                           Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                           15a .   Life insurance                                                                                        15a .          53.26
                                                                                                                                                                                                 $_____________________
                                                                           15b .   Health insurance                                                                                      15b .          266.00
                                                                                                                                                                                                 $_____________________
                                                                           15c.    Vehicle insurance                                                                                     15c.           621.00
                                                                                                                                                                                                 $_____________________
                                                                           15d .   Other insurance. Specify:_______________________________________                                      15d .           0.00
                                                                                                                                                                                                 $_____________________

                                                                     16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                       3,166.66
                                                                                                                                                                                                 $_____________________
                                                                                     See Schedule Attached
                                                                           Specify: ______________________________________
                                                                                                                         __________________                                              16.


                                                                     17.   Installment or lease payments:

                                                                           17a .   Car payments for Vehicle 1                                                                            17a.           336.32
                                                                                                                                                                                                 $_____________________

                                                                           17b .   Car payments for Vehicle 2                                                                            17b .           0.00
                                                                                                                                                                                                 $_____________________

                                                                           17 c.   Other. Specify:_________________________________
                                                                                                                                  ______________                                         17c.            0.00
                                                                                                                                                                                                 $_____________________

                                                                           17 d.   Other. Specify:_________________________________
                                                                                                                                  ______________                                         17d .           0.00
                                                                                                                                                                                                 $_____________________

                                                                     18.   Your payments of alimony, maintenance, and support that you did not report as deducted from                                   0.00
                                                                                                                                                                                                 $_____________________
                                                                           your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                18.


                                                                     19.   Other payments you make to support others who do not live with you.                                                           0.00
                                                                                                                                                                                                 $_____________________
                                                                           Specify:_______________________________________________________                                                19.


                                                                     20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

                                                                           20a .   Mortgages on other property                                                                          20 a.            0.00
                                                                                                                                                                                                 $_____________________

                                                                           20b .   Real estate taxes                                                                                    20b .            0.00
                                                                                                                                                                                                 $_____________________

                                                                           20c.    Property, homeowner’s, or renter’s insurance                                                         20c.             0.00
                                                                                                                                                                                                 $_____________________

                                                                           20d .   Maintenance, repair, and upkeep expenses                                                             20d .            0.00
                                                                                                                                                                                                 $_____________________

                                                                           20e .   Homeowner’s association or condominium dues                                                          20e .    $_____________________
                                                                                                                                                                                                         0.00
                         3,163.38
                                                                                  Case:14-17484-KHT Doc#:1 Filed:05/29/14                                 Entered:05/29/14 17:37:35 Page32 of 56

                                                                      Debtor 1         Suzan
                                                                                      ___      Rene
                                                                                          _______       Harding
                                                                                                  ____ _____ ______ _____ ____ _______ ____ _____ _____            Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                      First Name     Middle Name         Last Name




                                                                     21.    Other. Specify: ________________________________
                                                                                            See Schedule Attached           _________________                                            21 .           152.70
                                                                                                                                                                                                +$_____________________

                                                                     22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                                                                                                       8,738.47
                                                                                                                                                                                                  $_____________________
                                                                            The result is your monthly expenses.                                                                         22 .




                                                                     23.   Calculate your monthly net income.
                                                                                                                                                                                                        10,590.07
                                                                                                                                                                                                   $_____________________
                                                                           23a.   Copy line 12 (your combined monthly income) from Schedule I.                                          23a.

                                                                           23b.   Copy your monthly expenses from line 22 above.                                                        23b .   – $_____________________
                                                                                                                                                                                                        8,738.47

                                                                           23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                                                                                        1,851.60
                                                                                                                                                                                                   $_____________________
                                                                                  The result is your monthly net income.                                                                23c.




                                                                     24.   Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                           For example, do you expect to finish paying for your car loan within the year or do you expect your
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                                                                           mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                                                                              No.
                                                                              Yes.    See Continuation Sheet
                                                                             Case:14-17484-KHT Doc#:1 Filed:05/29/14               Entered:05/29/14 17:37:35 Page33 of 56
                                                                     IN RE Harding, Suzan Rene                                                     Case No.
                                                                                                           Debtor(s)

                                                                                       SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                                Continuation Sheet - Page 1 of 2

                                                                     Taxes
                                                                     IRS Additional Tax Withholding                                                                     2,833.33
                                                                     Colorado Additional Tax Withholding                                                                  333.33

                                                                     Other Expenses
                                                                     Dog Care                                                                                               152.70
                                                                                                                                                                              0.00
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                                                                              Case:14-17484-KHT Doc#:1 Filed:05/29/14                                         Entered:05/29/14 17:37:35 Page34 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                           Case No.
                                                                                                                              Debtor(s)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                                                    Continuation Sheet - Page 2 of 2
                                                                     Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     Commencing Month #19 the Ch13 Plan payment will increase by $ 136.00 ($336.32- $200. additional repair/vehicle
                                                                     replacement allowance)
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                                                                             Case:14-17484-KHT Doc#:1 Filed:05/29/14                       Entered:05/29/14 17:37:35 Page35 of 56
                                                                                                                     United States Bankruptcy Court
                                                                                                                           District of Colorado

                                                                     IN RE:                                                                                Case No.
                                                                     Harding, Suzan Rene                                                                   Chapter 13
                                                                                                              Debtor(s)

                                                                                                                BUSINESS INCOME AND EXPENSES
                                                                     FINANCIAL REVIEW OF THE DEBTOR’S BUSINESS (Note: ONLY INCLUDE information directly related to the business
                                                                     operation.)

                                                                     PART A - GROSS BUSINESS INCOME FOR THE PREVIOUS 12 MONTHS:

                                                                       1. Gross Income For 12 Months Prior to Filing:                                      $       165,041.39

                                                                     PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

                                                                       2. Gross Monthly Income:                                                                                    $   13,753.45

                                                                     PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

                                                                       3.   Net Employee Payroll (Other Than Debtor)                                       $
                                                                       4.   Payroll Taxes                                                                  $
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                                                                       5.   Unemployment Taxes                                                             $
                                                                       6.   Worker’s Compensation                                                          $
                                                                       7.   Other Taxes                                                                    $
                                                                       8.   Inventory Purchases (Including raw materials)                                  $
                                                                       9.   Purchase of Feed/Fertilizer/Seed/Spray                                         $
                                                                      10.   Rent (Other than debtor’s principal residence)                                 $            1,285.55
                                                                      11.   Utilities                                                                      $              314.12
                                                                      12.   Office Expenses and Supplies                                                   $            1,298.49
                                                                      13.   Repairs and Maintenance                                                        $
                                                                      14.   Vehicle Expenses                                                               $
                                                                      15.   Travel and Entertainment                                                       $
                                                                      16.   Equipment Rental and Leases                                                    $
                                                                      17.   Legal/Accounting/Other Professional Fees                                       $             265.22
                                                                      18.   Insurance                                                                      $
                                                                      19.   Employee Benefits (e.g., pension, medical, etc.)                               $
                                                                      20.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
                                                                            Business Debts (Specify):                                                      $




                                                                      21. Other (Specify):                                                                 $




                                                                      22. Total Monthly Expenses (Add items 3-21)                                                                  $    3,163.38

                                                                     PART D - ESTIMATED AVERAGE NET MONTHLY INCOME

                                                                      23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                                $   10,590.07
                                                                             Case:14-17484-KHT
                                                                     B6 Declaration                              Doc#:1
                                                                                    (Official Form 6 - Declaration) (12/07)         Filed:05/29/14             Entered:05/29/14 17:37:35 Page36 of 56
                                                                     IN RE Harding, Suzan Rene                                                                                           Case No.
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      22 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.


                                                                     Date: May 29, 2014                                   Signature: /s/ Rene Harding
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       Rene Harding

                                                                     Date:                                                Signature:
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                            Case:14-17484-KHT Doc#:1 Filed:05/29/14                      Entered:05/29/14 17:37:35 Page37 of 56
                                                                     B201A (Form 201A) (11/12)


                                                                                                         UNITED STATES BANKRUPTCY COURT

                                                                                                 NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                                                                                         OF THE BANKRUPTCY CODE

                                                                              In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                     Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                     costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                     notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                             You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                     advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                     cannot give you legal advice.

                                                                              Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                     ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                     court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                                                                     each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
                                                                     receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
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                                                                     statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                     1. Services Available from Credit Counseling Agencies

                                                                             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                     bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                                                                     credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                                                                     days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
                                                                     by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
                                                                     United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
                                                                     approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                             In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                     management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                     financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                               Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
                                                                               Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                     Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                     should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                     residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
                                                                     have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
                                                                     to decide whether the case should be dismissed.
                                                                               Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                     right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
                                                                     creditors.
                                                                               The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                     have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
                                                                            Case:14-17484-KHT Doc#:1 Filed:05/29/14                      Entered:05/29/14 17:37:35 Page38 of 56
                                                                     B201A (Form 201A) (11/12)                                                                                                     Page 2

                                                                     discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                              Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                     may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                     and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                     which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
                                                                     motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
                                                                     from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
                                                                     that the debt is not discharged.

                                                                              Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                     $46 administrative fee: Total fee $281)
                                                                              Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
                                                                     installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
                                                                     set forth in the Bankruptcy Code.
                                                                              Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
                                                                     them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                     depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                              After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
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                                                                     secured obligations.

                                                                              Chapter 11: Reorganization ($1167 filing fee, $46 administrative fee: Total fee $1213)
                                                                              Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
                                                                     provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                                                                     an attorney.

                                                                             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
                                                                             Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                     future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                     income arises primarily from a family-owned farm or commercial fishing operation.

                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                     perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                     information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                     acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                     employees of the Department of Justice.

                                                                     WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
                                                                     your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                                                                     dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                                                                     Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
                                                                     B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
                                                                             Case:14-17484-KHT
                                                                     B201B (Form 201B) (12/09)              Doc#:1 Filed:05/29/14               Entered:05/29/14 17:37:35 Page39 of 56
                                                                                                                       United States Bankruptcy Court
                                                                                                                             District of Colorado

                                                                     IN RE:                                                                                            Case No.
                                                                     Harding, Suzan Rene                                                                               Chapter 13
                                                                                                                Debtor(s)

                                                                                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                        UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                      Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                     notice, as required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                     Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                      the Social Security number of the officer,
                                                                                                                                                                      principal, responsible person, or partner of
                                                                                                                                                                      the bankruptcy petition preparer.)
                                                                                                                                                                      (Required by 11 U.S.C. § 110.)
                                                                     X
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                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                            Certificate of the Debtor

                                                                     I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                     Harding, Suzan Rene                                                    X /s/ Rene Harding                                           5/29/2014
                                                                     Printed Name(s) of Debtor(s)                                               Signature of Debtor                                            Date


                                                                     Case No. (if known)                                                    X
                                                                                                                                                Signature of Joint Debtor (if any)                             Date


                                                                     Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                     Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                     NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                     attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                     page 3 of Form B1 also include this certification.
                                                                             Case:14-17484-KHT Doc#:1 Filed:05/29/14                      Entered:05/29/14 17:37:35 Page40 of 56
                                                                                                                   United States Bankruptcy Court
                                                                                                                         District of Colorado

                                                                     IN RE:                                                                                  Case No.
                                                                     Harding, Suzan Rene                                                                     Chapter 13
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: May 29, 2014                     Signature: /s/ Rene Harding
                                                                                                                         Rene Harding                                                            Debtor



                                                                     Date:                                  Signature:
                                                                                                                                                                                     Joint Debtor, if any
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               Bellco Credit Union
               PO Box 2062
               Glen Burnie, MD 21060-2062


               Calibur Home Loans, Inc.
               PO Box 650856
               Dallas, TX 75265-0856


               Colorado Atty. General
               1525 Sherman St Ste 700
               Denver, CO 80203-1700


               Colorado Department Of Revenue
               1375 Sherman St Rm 504
               Denver, CO 80261-0004


               Internal Revenue Service
               PO Box 7346
               Philadelphia, PA 19101-7346


               Littleton Adventist Hospital
               PO Box 561430
               Denver, CO 80256-1430


               National Jewish Health
               PO Box 17379
               Denver, CO 80217-0379


               Performant Recovery Inc.
               PO Box 9054
               Pleasanton, CA 94566-9054


               SCA Collections
               PO Box 876
               Greenville, NC 27835-0876
Case:14-17484-KHT Doc#:1 Filed:05/29/14   Entered:05/29/14 17:37:35 Page42 of 56




               South Denver Anesthesiologists PC
               PO Box 17026
               Denver, CO 80217-0026


               U.S. Attorney
               1225 17th St Ste 700
               Denver, CO 80202-5598


               U.S. Attorney General
               U.S. Department Of Justice
               950 Pennsylvania Ave. N.W.
               Washington, DC 20530-0009


               Unipath
               PO Box 742433
               Atlanta, GA 30374-2104
                                                                            Case:14-17484-KHT Doc#:1 Filed:05/29/14                              Entered:05/29/14 17:37:35 Page43 of 56
                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)                         According to the calculations required by this statement:
                                                                                                                                               The applicable commitment period is 3 years.
                                                                     In re: Harding, Suzan Rene                                                The applicable commitment period is 5 years.
                                                                                                      Debtor(s)
                                                                                                                                               Disposable income is determined under § 1325(b)(3).
                                                                     Case Number:
                                                                                                      (If known)                               Disposable income is not determined under § 1325(b)(3).
                                                                                                                                           (Check the boxes as directed in Lines 17 and 23 of this statement.)


                                                                                          CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                    AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                     In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly.
                                                                     Joint debtors may complete one statement only.


                                                                                                                       Part I. REPORT OF INCOME

                                                                              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                              a.    Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
                                                                              b.    Married. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 2-10.
                                                                        1
                                                                              All figures must reflect average monthly income received from all sources, derived during                      Column A                Column B
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                                                                              the six calendar months prior to filing the bankruptcy case, ending on the last day of the                     Debtor’s                Spouse’s
                                                                              month before the filing. If the amount of monthly income varied during the six months, you                      Income                  Income
                                                                              must divide the six-month total by six, and enter the result on the appropriate line.
                                                                        2     Gross wages, salary, tips, bonuses, overtime, commissions.                                                 $                       $
                                                                              Income from the operation of a business, profession, or farm. Subtract Line b from Line
                                                                              a and enter the difference in the appropriate column(s) of Line 3. If you operate more than
                                                                              one business, profession or farm, enter aggregate numbers and provide details on an
                                                                              attachment. Do not enter a number less than zero. Do not include any part of the business
                                                                        3     expenses entered on Line b as a deduction in Part IV.
                                                                               a.    Gross receipts                                    $                                 8,241.36
                                                                               b.    Ordinary and necessary operating expenses         $                                 1,697.40
                                                                               c.    Business income                                   Subtract Line b from Line a                       $       6,543.96 $
                                                                              Rent and other real property income. Subtract Line b from Line a and enter the
                                                                              difference in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do
                                                                              not include any part of the operating expenses entered on Line b as a deduction in
                                                                              Part IV.
                                                                        4
                                                                               a.    Gross receipts                                    $
                                                                               b.    Ordinary and necessary operating expenses         $
                                                                               c.    Rent and other real property income               Subtract Line b from Line a
                                                                                                                                                                                         $                       $
                                                                        5     Interest, dividends, and royalties.                                                                        $                       $
                                                                        6     Pension and retirement income.                                                                             $                       $
                                                                              Any amounts paid by another person or entity, on a regular basis, for the household
                                                                              expenses of the debtor or the debtor’s dependents, including child support paid for
                                                                        7     that purpose. Do not include alimony or separate maintenance payments or amounts paid
                                                                              by the debtor’s spouse. Each regular payment should be reported in only one column; if a
                                                                              payment is listed in Column A, do not report that payment in Column B.                                     $                       $
                                                                            Case:14-17484-KHT Doc#:1 Filed:05/29/14                         Entered:05/29/14 17:37:35 Page44 of 56
                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)
                                                                             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
                                                                             However, if you contend that unemployment compensation received by you or your spouse
                                                                             was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                       8     Column A or B, but instead state the amount in the space below:
                                                                              Unemployment compensation
                                                                              claimed to be a benefit under the
                                                                              Social Security Act                     Debtor $                  Spouse $                    $               $
                                                                             Income from all other sources. Specify source and amount. If necessary, list additional
                                                                             sources on a separate page. Total and enter on Line 9. Do not include alimony or separate
                                                                             maintenance payments paid by your spouse, but include all other payments of alimony
                                                                             or separate maintenance. Do not include any benefits received under the Social Security
                                                                       9     Act or payments received as a victim of a war crime, crime against humanity, or as a victim
                                                                             of international or domestic terrorism.
                                                                              a.                                                                           $
                                                                              b.                                                                           $
                                                                                                                                                                            $               $
                                                                             Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
                                                                       10
                                                                             through 9 in Column B. Enter the total(s).                                                    $     6,543.96 $
                                                                             Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B,
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                                                                       11    and enter the total. If Column B has not been completed, enter the amount from Line 10,
                                                                             Column A.                                                                                      $                   6,543.96

                                                                                              Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD

                                                                       12    Enter the amount from Line 11.                                                                                 $    6,543.96
                                                                             Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend
                                                                             that calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of
                                                                             your spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on
                                                                             a regular basis for the household expenses of you or your dependents and specify, in the lines below, the
                                                                             basis for excluding this income (such as payment of the spouse’s tax liability or the spouse’s support of
                                                                             persons other than the debtor or the debtor’s dependents) and the amount of income devoted to each
                                                                             purpose. If necessary, list additional adjustments on a separate page. If the conditions for entering this
                                                                       13
                                                                             adjustment do not apply, enter zero.
                                                                              a.                                                                                       $
                                                                              b.                                                                                       $
                                                                              c.                                                                                       $
                                                                              Total and enter on Line 13.                                                                                   $        0.00
                                                                       14    Subtract Line 13 from Line 12 and enter the result.                                                            $    6,543.96
                                                                             Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number
                                                                       15
                                                                             12 and enter the result.                                                                                       $   78,527.52
                                                                             Applicable median family income. Enter the median family income for the applicable state and
                                                                             household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                       16    the bankruptcy court.)
                                                                             a. Enter debtor’s state of residence: Colorado                       b. Enter debtor’s household size:     1   $   50,978.00
                                                                             Application of § 1325(b)(4). Check the applicable box and proceed as directed.
                                                                                The amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is
                                                                       17       3 years” at the top of page 1 of this statement and continue with this statement.
                                                                                The amount on Line 15 is not less than the amount on Line 16. Check the box for “The applicable commitment
                                                                                period is 5 years” at the top of page 1 of this statement and continue with this statement.

                                                                                   Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
                                                                            Case:14-17484-KHT Doc#:1 Filed:05/29/14                          Entered:05/29/14 17:37:35 Page45 of 56
                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)
                                                                       18    Enter the amount from Line 11.                                                                                 $    6,543.96
                                                                             Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the
                                                                             total of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household
                                                                             expenses of the debtor or the debtor’s dependents. Specify in the lines below the basis for excluding the
                                                                             Column B income (such as payment of the spouse’s tax liability or the spouse’s support of persons other
                                                                             than the debtor or the debtor’s dependents) and the amount of income devoted to each purpose. If
                                                                             necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment do
                                                                       19    not apply, enter zero.
                                                                              a.                                                                                         $
                                                                              b.                                                                                         $
                                                                              c.                                                                                         $
                                                                              Total and enter on Line 19.                                                                                   $        0.00
                                                                       20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                   $    6,543.96
                                                                             Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number
                                                                       21
                                                                             12 and enter the result.                                                                                       $   78,527.52
                                                                       22    Applicable median family income. Enter the amount from Line 16.                                                $   50,978.00
                                                                             Application of § 1325(b)(3). Check the applicable box and proceed as directed.
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                                                                                The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined
                                                                                under § 1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
                                                                       23
                                                                                The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not
                                                                                determined under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement. Do not
                                                                                complete Parts IV, V, or VI.

                                                                                         Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)

                                                                                                Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

                                                                             National Standards: food, apparel and services, housekeeping supplies, personal care, and
                                                                             miscellaneous. Enter in Line 24A the “Total” amount from IRS National Standards for Allowable Living
                                                                             Expenses for the applicable number of persons. (This information is available at www.usdoj.gov/ust/ or
                                                                      24A
                                                                             from the clerk of the bankruptcy court.) The applicable number of persons is the number that would
                                                                             currently be allowed as exemptions on your federal income tax return, plus the number of any additional
                                                                             dependents whom you support.                                                                                   $     583.00
                                                                             National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                                                                             Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
                                                                             Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
                                                                             persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
                                                                             years of age or older. (The applicable number of persons in each age category is the number in that
                                                                             category that would currently be allowed as exemptions on your federal income tax return, plus the number
                                                                             of any additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for
                                                                      24B    persons under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for
                                                                             persons 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
                                                                             amount, and enter the result in Line 24B.
                                                                              Persons under 65 years of age                           Persons 65 years of age or older
                                                                              a1.    Allowance per person                   60.00     a2.    Allowance per person                 144.00
                                                                              b1.    Number of persons                          1     b2.    Number of persons                          0
                                                                              c1.    Subtotal                               60.00     c2.    Subtotal                                0.00
                                                                                                                                                                                            $      60.00
                                                                            Case:14-17484-KHT Doc#:1 Filed:05/29/14                        Entered:05/29/14 17:37:35 Page46 of 56
                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)
                                                                             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
                                                                             and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
                                                                      25A    information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable
                                                                             family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                             tax return, plus the number of any additional dependents whom you support.                                    $   407.00
                                                                             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of
                                                                             the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
                                                                             information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (The applicable
                                                                             family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                             tax return, plus the number of any additional dependents whom you support.); enter on Line b the total of
                                                                             the Average Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b
                                                                      25B    from Line a and enter the result in Line 25B. Do not enter an amount less than zero.
                                                                              a.   IRS Housing and Utilities Standards; mortgage/rental expense          $                    1,169.00
                                                                              b.   Average Monthly Payment for any debts secured by your home, if
                                                                                   any, as stated in Line 47                                             $                    2,414.03
                                                                              c.   Net mortgage/rental expense                                           Subtract Line b from Line a
                                                                                                                                                                                           $
                                                                             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
                                                                             and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                             Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
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                                                                             for your contention in the space below:

                                                                       26




                                                                                                                                                                                           $
                                                                             Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
                                                                             an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
                                                                             and regardless of whether you use public transportation.
                                                                             Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                             expenses are included as a contribution to your household expenses in Line 7.
                                                                      27A      0     1      2 or more.
                                                                             If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
                                                                             Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS
                                                                             Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                             Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
                                                                             of the bankruptcy court.)                                                                                     $   236.00
                                                                             Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                             expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                      27B    additional deduction for your public transportation expenses, enter on Line 27B the “Public
                                                                             Transportation” amount from IRS Local Standards: Transportation. (This amount is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                $
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                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)
                                                                             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                             which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
                                                                             than two vehicles.)
                                                                               1      2 or more.
                                                                             Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
                                                                             Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b
                                                                       28    the total of the Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47;
                                                                             subtract Line b from Line a and enter the result in Line 28. Do not enter an amount less than zero.
                                                                              a.   IRS Transportation Standards, Ownership Costs                           $                       517.00
                                                                                   Average Monthly Payment for any debts secured by Vehicle 1, as
                                                                              b.   stated in Line 47                                                       $                       100.90
                                                                              c.   Net ownership/lease expense for Vehicle 1                               Subtract Line b from Line a
                                                                                                                                                                                              $    416.10
                                                                             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
                                                                             checked the “2 or more” Box in Line 28.

                                                                             Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
                                                                             Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b
                                                                             the total of the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47;
                                                                       29    subtract Line b from Line a and enter the result in Line 29. Do not enter an amount less than zero.
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                                                                              a.   IRS Transportation Standards, Ownership Costs                           $
                                                                                   Average Monthly Payment for any debts secured by Vehicle 2, as
                                                                              b.   stated in Line 47                                                       $
                                                                              c.   Net ownership/lease expense for Vehicle 2                               Subtract Line b from Line a
                                                                                                                                                                                              $
                                                                             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
                                                                       30    federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
                                                                             taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes.                     $   3,166.66
                                                                             Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                       31    deductions that are required for your employment, such as mandatory retirement contributions, union dues,
                                                                             and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                 $
                                                                             Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
                                                                       32    for term life insurance for yourself. Do not include premiums for insurance on your dependents, for
                                                                             whole life or for any other form of insurance.                                                                   $
                                                                             Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
                                                                       33    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
                                                                             payments. Do not include payments on past due obligations included in Line 49.                                   $
                                                                             Other Necessary Expenses: education for employment or for a physically or mentally challenged
                                                                             child. Enter the total average monthly amount that you actually expend for education that is a condition of
                                                                       34
                                                                             employment and for education that is required for a physically or mentally challenged dependent child for
                                                                             whom no public education providing similar services is available.                                                $
                                                                             Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend
                                                                       35    on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
                                                                             payments.                                                                                                        $
                                                                             Other Necessary Expenses: health care. Enter the total average monthly amount that you actually
                                                                             expend on health care that is required for the health and welfare of yourself or your dependents, that is not
                                                                       36
                                                                             reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
                                                                             Line 24B. Do not include payments for health insurance or health savings accounts listed in Line 39.             $
                                                                             Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
                                                                             you actually pay for telecommunication services other than your basic home telephone and cell phone
                                                                       37    service—such as pagers, call waiting, caller id, special long distance, or internet service—to the extent
                                                                             necessary for your health and welfare or that of your dependents. Do not include any amount previously
                                                                             deducted.                                                                                                        $
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                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)
                                                                       38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                             $   4,868.76

                                                                                                             Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                         Note: Do not include any expenses that you have listed in Lines 24-37

                                                                             Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
                                                                             expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
                                                                             spouse, or your dependents.
                                                                                 a.   Health Insurance                                             $                  265.68
                                                                                 b.   Disability Insurance                                         $
                                                                       39        c.   Health Savings Account                                       $
                                                                             Total and enter on Line 39                                                                                      $    265.68
                                                                             If you do not actually expend this total amount, state your actual total average monthly expenditures in
                                                                             the space below:

                                                                             $
                                                                             Continued contributions to the care of household or family members. Enter the total average actual
                                                                             monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                       40
                                                                             elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                             unable to pay for such expenses. Do not include payments listed in Line 34.                                     $
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                                                                             Protection against family violence. Enter the total average reasonably necessary monthly expenses that
                                                                             you actually incur to maintain the safety of your family under the Family Violence Prevention and
                                                                       41
                                                                             Services Act or other applicable federal law. The nature of these expenses is required to be kept
                                                                             confidential by the court.                                                                                      $
                                                                             Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
                                                                             Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
                                                                       42
                                                                             provide your case trustee with documentation of your actual expenses, and you must demonstrate
                                                                             that the additional amount claimed is reasonable and necessary.                                                 $
                                                                             Education expenses for dependent children under 18. Enter the total average monthly expenses that you
                                                                             actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or
                                                                       43    secondary school by your dependent children less than 18 years of age. You must provide your case
                                                                             trustee with documentation of your actual expenses, and you must explain why the amount claimed
                                                                             is reasonable and necessary and not already accounted for in the IRS Standards.                       $
                                                                             Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                             clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                       44    National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                             additional amount claimed is reasonable and necessary.                                                          $
                                                                             Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
                                                                             charitable contributions in the form of cash or financial instruments to a charitable organization as defined
                                                                       45
                                                                             in 26 U.S.C. § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly
                                                                             income.                                                                                                         $
                                                                       46    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                     $    265.68
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                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)
                                                                                                                   Subpart C: Deductions for Debt Payment

                                                                             Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                             you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
                                                                             Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
                                                                             the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
                                                                             following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
                                                                             page. Enter the total of the Average Monthly Payments on Line 47.
                                                                                                                                                             Average         Does payment
                                                                       47                                                                                    Monthly       include taxes or
                                                                                   Name of Creditor                  Property Securing the Debt              Payment            insurance?
                                                                              a.   Bellco Credit Union               Automobile (1)                      $     100.90           yes   no
                                                                              b.   Calibur Home Loans, Inc.          Residence                           $   2,414.03           yes   no
                                                                              c.   Internal Revenue Service          tax lien                            $     317.44           yes   no
                                                                                                                                          Total: Add lines a, b and c.
                                                                                                                                                                                               $   2,832.37
                                                                             Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary
                                                                             residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
                                                                             you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the
                                                                             creditor in addition to the payments listed in Line 47, in order to maintain possession of the property. The
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                                                                             cure amount would include any sums in default that must be paid in order to avoid repossession or
                                                                             foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on a
                                                                             separate page.
                                                                       48                                                                                                    1/60th of the
                                                                                   Name of Creditor                             Property Securing the Debt                   Cure Amount
                                                                              a.                                                                                            $
                                                                              b.                                                                                            $
                                                                              c.                                                                                            $
                                                                                                                                                              Total: Add lines a, b and c.     $
                                                                             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims,
                                                                       49    such as priority tax, child support and alimony claims, for which you were liable at the time of your
                                                                             bankruptcy filing. Do not include current obligations, such as those set out in Line 33.                          $   1,347.94
                                                                             Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter
                                                                             the resulting administrative expense.
                                                                              a.   Projected average monthly Chapter 13 plan payment.                $                   188.29
                                                                              b.   Current multiplier for your district as determined under
                                                                                   schedules issued by the Executive Office for United States
                                                                       50
                                                                                   Trustees. (This information is available at
                                                                                   www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                   court.)                                                           X                   10.0%
                                                                              c.   Average monthly administrative expense of Chapter 13              Total: Multiply Lines a
                                                                                   case                                                              and b
                                                                                                                                                                                               $     17.12
                                                                       51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                        $   4,197.43

                                                                                                                  Subpart D: Total Deductions from Income

                                                                       52    Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                     $   9,331.87
                                                                            Case:14-17484-KHT Doc#:1 Filed:05/29/14                            Entered:05/29/14 17:37:35 Page50 of 56
                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)

                                                                                         Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)

                                                                       53    Total current monthly income. Enter the amount from Line 20.                                                                 $      6,543.96
                                                                             Support income. Enter the monthly average of any child support payments, foster care payments, or
                                                                       54    disability payments for a dependent child, reported in Part I, that you received in accordance with
                                                                             applicable nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                              $
                                                                             Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer
                                                                       55    from wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
                                                                             repayments of loans from retirement plans, as specified in § 362(b)(19).                                                     $
                                                                       56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                            $      9,331.87
                                                                             Deduction for special circumstances. If there are special circumstances that justify additional expenses
                                                                             for which there is no reasonable alternative, describe the special circumstances and the resulting expenses
                                                                             in lines a-c below. If necessary, list additional entries on a separate page. Total the expenses and enter the
                                                                             total in Line 57. You must provide your case trustee with documentation of these expenses and you must
                                                                             provide a detailed explanation of the special circumstances that make such expenses necessary and
                                                                             reasonable.
                                                                                                                                                                                            Amount of
                                                                       57
                                                                                    Nature of special circumstances                                                                           expense
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                                                                              a.                                                                                                        $
                                                                              b.                                                                                                        $
                                                                              c.                                                                                                        $
                                                                                                                                                              Total: Add Lines a, b, and c
                                                                                                                                                                                                          $
                                                                             Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and
                                                                       58
                                                                             enter the result.                                                                                                            $      9,331.87
                                                                       59    Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                            $      -2,787.91

                                                                                                              Part VI. ADDITIONAL EXPENSE CLAIMS

                                                                            Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
                                                                            and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                            income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                            average monthly expense for each item. Total the expenses.
                                                                                    Expense Description                                                                                         Monthly Amount
                                                                      60
                                                                             a.                                                                                                             $
                                                                             b.                                                                                                             $
                                                                             c.                                                                                                             $
                                                                                                                                                Total: Add Lines a, b and c                 $


                                                                                                                         Part VII. VERIFICATION

                                                                            I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                            both debtors must sign.)

                                                                      61    Date: May 29, 2014                  Signature: /s/ Rene Harding
                                                                                                                                                                     (Debtor)


                                                                            Date:                               Signature:
                                                                                                                                                               (Joint Debtor, if any)
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